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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

  MARY ANN CONNOLLY,                     |
                                         |
        Plaintiff,                       | Civ. Action No. 2:24-cv-01902-JKS-CLW
                                         |
        v.                               |
                                         |
  CROSS RIVER BANK, UPSTART              |
  NETWORK, INC., THEOREM                 |
  MAIN MASTER FUND LP, and               |
  UPSTART LOAN TRUST 2,                  |
                                         |
        Defendants.                      |

             FIRST AMENDED COMPLAINT AND JURY DEMAND


        Plaintiff, Mary Ann Connolly (“Plaintiff”), by way of this Complaint against

  Cross River Bank (“Cross River”), Upstart Network, Inc. (“Upstart”), Theorem

  Main Master Fund LP (“Theorem”), and Upstart Loan Trust 2 (“Loan Trust”),

  alleges and states:

                           I.    NATURE OF THE ACTION

  1. Plaintiff brings this action to secure redress for Defendants Cross River and

     Upstart’s conduct that included accessing Plaintiff’s credit report without consent

     or any lawful reason, in violation of the Fair Credit Reporting Act (“FCRA”), 15

     U.S.C. § 1681 et seq., and negligently allowing a loan to be fraudulently procured


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     in Plaintiff’s name. Additionally, Plaintiff brings the action against Upstart for

     not conducting a reasonable investigation as required by the FCRA, as well as an

     action against Upstart Loan Trust 2 seeking a declaratory judgment relating to the

     alleged debt. Lastly, Plaintiff brings an action against Theorem for common law

     conversion.

                         II.    JURISDICTION AND VENUE

     2. Venue is properly in New Jersey as the Defendants regularly conduct business

        there. Jurisdiction is proper pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1367

        as to supplemental jurisdiction.

                                     III.   PARTIES

     3. Plaintiff is an individual who is a resident of, and domiciled in, the State of

        New Jersey, whose address is 7 Liberty Road, Bernardsville, New Jersey

        07924.

     4. Defendant Cross River Bank is a New Jersey state chartered bank with a

        principal office address in Fort Lee, New Jersey and a bank branch located in

        Teaneck, New Jersey.

     5. Defendant Upstart Network, Inc. is a Delaware Corporation registered to do

        business in New Jersey. Upstart is a wholly owned subsidiary of Upstart

        Holdings, Inc.




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     6. Defendant Theorem Main Master Fund LP is a limited partnership registered

        in Grand Cayman, Cayman Islands and not registered to do business in New

        Jersey. Theorem’s general partner is Theorem Partners LLC.

     7. Defendant Upstart Loan Trust 2 is a Delaware Trust formed on July 19, 2016.

                                         IV.   FACTS

     8. On or about February 10, 2022, Plaintiff’s husband (now estranged), Matthew

        C. Connolly, made, executed, and authenticated in writing, an application for

        a loan from Upstart Network, Inc. and Cross River Bank, using the personal

        identifying information, as that term is defined under N.J.S. § 2C:20-1, of

        Plaintiff (the “Application”).

     9. The use of Plaintiff’s information in the Application was not known to

        Plaintiff at all times relevant, nor was the use of such information ever

        authorized, consented to, or ratified after the fact by Plaintiff.

     10. The Application (see “Exhibit 1” attached hereto) was completed online on

        Upstart’s website using Upstart’s platform. Upstart was acting as an agent for

        Defendant Cross River at all times relevant and acted as an agent of Cross

        River in the receiving of and processing of the Application. As per the

        Application, the loan decision was “Instant[ly] Approved.”

     11. Defendant Upstart Network, Inc. is a company that, along with lending

        partners, such as Defendant Cross River Bank, originate and issue high


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        interest rate consumer loans using online applications and providing instant

        approvals.

     12. Upstart’s website boldly states “Get approved.”          “Most customers are

        instantly approved with no paperwork required.” (See “Exhibit 2” attached

        hereto). Funds are then available the next business day. See “Exhibit 2.”

     13. Upstart Network, Inc. was incorporated in Delaware in 2012. Pursuant to a

        restructuring, Upstart Holdings, Inc. was incorporated in December 2013 and

        became the holding company of Defendant Upstart Network, Inc.

     14. As stated by Upstart Holdings’ co-founder and CEO, Dave Girouand, in its

        2022 Annual Report, “Due to our investments in automation, last year a record

        82% of personal loans required no human intervention in the process of

        originating the loan.”

     15. Upstart Holdings’ 2022 10Q, filed with the United States Securities and

        Exchange Commission, states, in part:

              Superior digital experience - Whether consumers apply
              for a loan through Upstart.com or directly through a
              lending partner’s website, the application experience is
              streamlined into a single application process and the loan
              offers provided are firm. In the year ended December 31,
              2022, 75% of Upstart-powered loans were instantly
              approved with no document upload or phone call required,
              an increase from 69% in 2021. Such automation
              improvements were due in large part to improvements to
              our AI models and the application of such models to
              different aspects of the loan process, including data
              verification and fraud detection.
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     16. Unbeknownst to Plaintiff, and without Plaintiff’s authorization or approval,

        Matthew Connolly applied for a loan on the Upstart website. The Application

        contained the personal identifying information of Plaintiff, as well as

        Matthew’s telephone number (not Plaintiff’s), and contained incorrect

        information. What is not shown on the Application, but will show through

        discovery, is that an email address, that was not Plaintiff’s, was used to

        communicate between Upstart and Cross River with Matthew Connolly. Not

        known to Plaintiff, a loan, ending in 535 (the “Loan”), was accepted and

        fraudulently executed by Matthew Connolly in Plaintiff’s name, with Upstart

        acting as an agent or consumer lender on behalf of Cross River. (The

        “Promissory Note”). The Promissory Note was electronically signed on

        February 10, 2022 by Matthew Connolly forging the name of Plaintiff to the

        Loan documents. (See “Exhibit 3” attached hereto). At no time did Plaintiff

        provide permission to Matthew Connolly to sign on behalf of Plaintiff, nor

        has such forged signature been ratified by Plaintiff.

     17. The Loan was funded on or about February 10, 2022 and placed in the joint

        checking account of Plaintiff and Matthew Connolly. This deposit was

        unknown to Plaintiff.      Matthew Connolly removed the funds without

        Plaintiff’s knowledge and used said funds for his own use and enjoyment.
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     18. Upon learning of the fraud, Plaintiff filed police reports (see “Exhibit 4”

        attached hereto) and an identity theft report with the Federal Trade

        Commission. (See “Exhibit 5” attached hereto).

     19. Plaintiff reported the fraudulent Application and negligent issuance of the

        Loan to Transunion, a credit reporting bureau, and to Upstart, who, pursuant

        to the wording of the Loan, was acting as a “nonfiduciary agent” of Cross

        River.

     20. According to the Promissory Note, Upstart was to collect the monthly

        payments for the Loan. Additionally, all communications regarding the Loan

        and Promissory Note were to be directed solely to Upstart as agent for Cross

        River.

     21. Plaintiff disputed the fraudulent debt with Transunion, who, pursuant to the

        FCRA, contacted Upstart about Plaintiff’s dispute as to the validity of the

        Loan. Additionally, Plaintiff provided to Upstart the police reports and the

        FTC report. Nonetheless, twice Upstart determined the debt to be valid. (See

        “Exhibit 6” attached hereto).

     22. Upstart’s 2022 Form 10K, filed with the United States Securities and

        Exchange Commission (“Form 10K”), Page 35, states, in part:

                 Our AI models also target and optimize other aspects of
                 the lending process, such as borrower acquisition, fraud
                 detection, default timing, loan stacking, prepayment
                 timing and fee optimization, and our continued
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              improvements to such models have allowed us to facilitate
              loans inexpensively and virtually instantly, with a high
              degree of consumer satisfaction and with an insignificant
              impact on loan performance. However, such applications
              of our AI models may prove to be less predictive than we
              expect, or than they have been in the past, for a variety of
              reasons, including inaccurate assumptions or other errors
              made in constructing such models, incorrect
              interpretations of the results of such models and failure to
              timely update model assumptions and parameters.

     23. At some point in time, a date that will be identified through discovery, Cross

        River Bank assigned, sold, or otherwise transferred the Loan to Defendant

        Theorem Main Master Fund LP, who, as of December 9, 2022, accelerated the

        Loan, demanding from Plaintiff an immediate payment of $7,686.72, stating

        that the collection of the Loan debt was being “referred to a third party

        collection agency for collection.” (See “Exhibit 7” attached hereto).

     24. Upstart’s 2022 Form 10K, filed with the United States Securities and

        Exchange Commission, Page 38, further states, in part:

              Cross River Bank, or CRB, a New Jersey-chartered
              community bank, originates a majority of the loans on our
              platform. In the years ended December 31, 2021 and
              2022, CRB originated 55% and 51% respectively, of the
              Transaction Volume, Number of Loans. CRB also
              accounts for a large portion of our revenues. In the years
              ended December 31, 2021 and 2022, fees received from
              CRB accounted for 56% and 45%, respectively, of our
              total revenue. CRB retains a proportion of the loans they
              originate on their own balance sheet, and sells the
              remainder of the loans to us, which we in turn sell to
              institutional investors, sell to our warehouse trust special
              purpose entities or retain on our balance sheet. Our most
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              recent commercial arrangement with CRB began on
              January 1, 2019 and has a term of four years.

     25. Cross River entered into a Consent Order with the Federal Deposit Insurance

        Company on March 8, 2023 in which Cross River, among a long list of other

        things, agreed that the Board of Directors of Cross River had to increase its

        supervision and direction of management and oversight and monitoring of the

        bank’s “credit underwriting practices.” (See “Exhibit 8” attached hereto).

     26. Page 47 of Upstart’s 2022 Form 10K, filed with the United States Securities

        and Exchange Commission states, in part:

              If we are unable to manage the risks associated with
              fraudulent activity, our brand and reputation,
              business, financial condition and results of operations
              could be adversely affected.

                     Fraud is prevalent in the financial services industry
              and is likely to increase as perpetrators become more
              sophisticated. We are subject to the risk of fraudulent
              activity associated with borrowers and third parties
              handling borrower information and in limited situations
              cover certain fraud losses of our lending partners and
              institutional investors in our loan funding programs. For
              example, in the third quarter of 2021 and the first quarter
              of 2022, we experienced temporary increases in fraudulent
              activity. Fraud rates could also increase in a down-cycle
              economy. We use several identity and fraud detection
              tools, including tools provided by third-party vendors and
              our proprietary AI models, to predict and otherwise
              validate or authenticate applicant-reported data and data
              derived from third-party sources. If such efforts are
              insufficient to accurately detect and prevent fraud, the
              level of fraud-related losses of Upstart-powered loans


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               could increase, which would decrease confidence in our
               AI lending marketplace.

     27. Cross River, by and through its agent Upstart, processed the Application and

        instantly approved the Loan without any supporting documents, or even a

        telephone call to Plaintiff, relying solely on a computer algorithm or computer

        program using artificial intelligence without any human intervention.

                 V.   COUNT I – FAIR CREDIT REPORTING ACT
                           (VIOLATION OF 15 U.S.C. § 1681b)
             (Against Defendants Cross River Bank and Upstart Network, Inc.)

    28. Plaintiff incorporates paragraphs 1 to 27 as if fully stated herein.

    29. At all times relevant, Upstart was acting as an authorized agent of Cross River.

    30. The FCRA, 15 U.S.C. § 1681b, provides it is only legal to obtain a credit

  report on a consumer with the written consent of the consumer or for certain

  “permissible purposes”, which insofar as pertinent are the extension of credit to, or

  review or collection of an account of, the consumer, employment purposes, the

  underwriting of insurance, or in connection with a business transaction that is

  initiated by the consumer.

    31. The requester must affirmatively certify to the consumer reporting agency that

  a permissible purpose exists. 15 U.S.C. §1681b(f) states:

               Permissible purposes of consumer reports

                      (f) Certain use or obtaining of information
               prohibited. A person shall not use or obtain a consumer
               report for any purpose unless
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                           (1) the consumer report is obtained for a
              purpose for which the consumer report is authorized to be
              furnished under this section; and
                           (2) the purpose is certified in accordance with
              section 607 [§ 1681e] by a prospective user of the report
              through a general or specific certification.

   32. Defendants Upstart and Cross River, acting in concert with each other,

 obtained or pulled the consumer report of Plaintiff after certifying it was legitimately

 obtaining the report when, in fact, Defendants Upstart and Cross River did not have

 written permission or a “permissible purpose”.

   33. To obtain the consumer report of Plaintiff, the Defendants Upstart and Cross

 River had to affirmatively provide certification of a “permissible purpose”.

   34. Defendants Upstart and Cross River knew, or should have known, that they

 did not have any right to obtain the consumer report of Plaintiff.

   35. Defendants Upstart and Cross River knew, or should have known, that they

 did not have either written consent or a “permissible purpose”.

   36. 15 U.S.C. §1681o, states:

                     (a) In general. Any person who is negligent in
              failing to comply with any requirement imposed under this
              title [15 USCS §§ 1681 et seq.] with respect to any
              consumer is liable to that consumer in an amount equal to
              the sum of ---
                            (1) any actual damages sustained by the
              consumer as a result of the failure; and
                            (2) in the case of any successful action to
              enforce any liability under this section, the costs of the
              action together with reasonable attorney’s fees as
              determined by the court.
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                       (b) Attorney’s fees. On a finding by the court that
                an unsuccessful pleading, motion, or other paper filed in
                connection with an action under this section was filed in
                bad faith or for purposes of harassment, the court shall
                award to the prevailing party attorney’s fees reasonable in
                relation to the work expended in responding to the
                pleading, motion, or other paper.

   37. The Plaintiff had her privacy illegally invaded as a result of Defendants

 Upstart and Cross River’s negligent actions and is entitled to damages allowed by

 the FCRA, not only for the invasion of privacy but also to the extent of the loan that

 was fraudulently obtained in her name.

                                PRAYER FOR RELIEF

          Wherefore, the Plaintiff prays for the following relief and judgment in her

 favor:

          a.    Award damages to the Plaintiff for Count I, against Defendants Cross

 River Bank and Upstart Network, Inc.;

          b.    Award the Plaintiff her costs, including attorney fees, against both

 Defendants; and

          c.    Award such other and further relief as may be appropriate and proper.

                  VI. COUNT II – VIOLATION OF N.J.S. § 56:11-31
               (Against Defendants Cross River Bank and Upstart Network, Inc.)

   38. Plaintiff incorporates paragraphs 1 to 27 as if fully stated herein.

   39. At all times relevant, Upstart was acting as an authorized agent of Cross River.


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 40.   New Jersey Statutes, Section 56:11-31, provides it is only permissible to

 obtain a credit report on a consumer with the written consent of the consumer or for

 certain “permissible purposes”, which insofar as pertinent are the extension of credit

 to, or review or collection of an account of, the consumer, employment purposes, the

 underwriting of insurance, or in connection with a business transaction that is

 initiated by the consumer.

 41.   The requester must affirmatively certify to the consumer reporting agency that

 a permissible purpose exists. N.J.S. § 56:11-31(g) states:

              §56:11-31. Furnishing of consumer report; permissible
              circumstances.

                                         ***
              g. A Person shall not use or obtain a consumer report for
              any purpose unless:

                    (1) the consumer report is obtained for a purpose for
                        which the consumer report is authorized to be
                        furnished under this section; and
                    (2) the purpose for its use is certified in accordance
                        with section 5 of this act by a prospective user of
                        the report.

 42.   Defendants Upstart and Cross River, acting in concert with each other,

 obtained or pulled the consumer report of Plaintiff after certifying it was obtaining

 the report for a “permissible purpose” when, in fact, Defendants did not have written

 permission or a “permissible purpose”.




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 43.   To obtain the consumer report of Plaintiff, Upstart and Cross River had to

 affirmatively provide certification.

 44.   Defendants Upstart and Cross River knew, or should have known, that they

 did not have any right to obtain the consumer report of Plaintiff.

 45.   Defendants Upstart and Cross River knew, or should have known, that they

 did not have either written consent or a “permissible purpose”.

 46.   New Jersey Statutes, Section 56:11-39, states:

                     § 56:11-39. Negligent noncompliance; liability.

              a. Any person who is negligent in failing to comply with
                 any requirement imposed under this act with respect to
                 any consumer is liable to that consumer in an amount
                 equal to the sum of:

                     (1) any actual damages sustained by the consumer
                         as a result of the failure; and
                     (2) in the case of any successful action to enforce
                         any liability under this section, the costs of the
                         action together with reasonable attorneys’ fees as
                         determined by the court.

              b. On a finding by the court that an unsuccessful pleading,
                 motion, or other paper filed in connection with an
                 action under this section was filed in bad faith or for
                 purposes of harassment, the court shall award to the
                 prevailing party attorneys’ fees reasonable in relation
                 to the work expended in responding to the pleading,
                 motion or other paper.

 47.   The Plaintiff had her privacy illegally invaded as a result of Defendants

 Upstart and Cross River’s negligent actions and is entitled to damages allowed by


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 N.J.S § 56:11-39, not only for the invasion of privacy but also to the extent of the

 loan that was fraudulently obtained in her name.

                                 PRAYER FOR RELIEF

          Wherefore, the Plaintiff prays for the following relief and judgment in her

 favor:

          a.    Award damages to the Plaintiff for Count II, against Defendants Cross

 River Bank and Upstart Network, Inc.;

          b.    Award the Plaintiff her costs, including attorney fees, against both

 Defendants; and

          c.    Award such other and further relief as may be appropriate and proper.

                VII.      COUNT III – FAIR CREDIT REPORTING ACT
                             (VIOLATION OF 15 U.S.C. § 1681s-2)
                           (Against Defendant Upstart Network, Inc.)

 48.      Plaintiff incorporates paragraphs 1 to 27 as if fully stated herein.

 49.      15 U.S.C. § 1681n(a) states:

                Civil liability for willful noncompliance [15 U.S.C. §

                1681n]

                (a) In general. Any person who willfully fails to
                comply with any requirement imposed under this title with
                respect to any consumer is liable to that consumer in an
                amount equal to the sum of

                (1) (A)       any actual damages sustained by the
                    consumer as a result of the failure or damages of not
                    less than $100 and not more than $1,000; or
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                (B) in the case of liability of a natural person for
                obtaining a consumer report under false pretenses or
                knowingly without a permissible purpose, actual
                damages sustained by the consumer as a result of the
                failure or $1,000, whichever is greater;

 50.   15 U.S.C. § 1681o(a) states:

             Civil liability for negligent noncompliance [15 U.S.C. §

             1681o]

             (a) In general. Any person who is negligent in failing to
             comply with any requirement imposed under this title with
             respect to any consumer is liable to that consumer in an
             amount equal to the sum of ---
                          (1) any actual damages sustained by the
             consumer as a result of the failure; and
                          (2) in the case of any successful action to
             enforce any liability under this section, the costs of the
             action together with reasonable attorney’s fees as
             determined by the court.

 51.   15 U.S.C. § 1681i(a)(2) states:

             Procedure in case of disputed accuracy [15 U.S.C. §

             1681i]

             (a) Reinvestigations of Disputed Information

             (2) Prompt Notice of Dispute to Furnisher of Information

                    (A) In general. Before the expiration of the 5-
                       business-day period beginning on the date on
                       which a consumer reporting agency receives
                       notice of a dispute from any consumer or a
                       reseller in accordance with paragraph (1), the
                       agency shall provide notification of the dispute
                       to any person who provided any item of
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                       information in dispute, at the address and in the
                       manner established with the person. The notice
                       shall include all relevant information regarding
                       the dispute that the agency has received from the
                       consumer or reseller.

                    (B) Provision of other information.           The
                       consumer reporting agency shall promptly
                       provide to the person who provided the
                       information in dispute all relevant information
                       regarding the dispute that is received by the
                       agency from the consumer or the reseller after
                       the period referred to in subparagraph (A) and
                       before the end of the period referred to in
                       paragraph (1)(A).

 52.   15 U.S.C. § 1681s-2(a) states, in part:

             Responsibilities of furnishers of information to
             consumer reporting agencies [15 U.S.C. § 1681s-2]

             (a) Duty of Furnishers of Information to Provide Accurate
                 Information

                (1) Prohibition

                    (A) Reporting        information   with     actual
                       knowledge of errors. A person shall not furnish
                       any information relating to a consumer to any
                       consumer reporting agency if the person knows
                       or has reasonable cause to believe that the
                       information is inaccurate.

                    (B) Reporting information after notice and
                       confirmation of errors. A person shall not
                       furnish information relating to a consumer to any
                       consumer reporting agency if

                       (i)    the person has been notified by the
                              consumer, at the address specified by the
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                              person for such notices, that specific
                              information is inaccurate; and

                       (ii)   the information is, in fact, inaccurate.

 53.   15 U.S.C. § 1681s-2(a)(6) states:

               (6) Duties of Furnishers Upon Notice of Identity Theft-
             Related Information

                   (A) Reasonable procedures. A person that
                      furnishes information to any consumer reporting
                      agency shall have in place reasonable procedures
                      to respond to any notification that it receives
                      from a consumer reporting agency under section
                      605B relating to information resulting from
                      identity theft, to prevent that person from
                      refurnishing such blocked information.

                   (B) Information alleged to result from identity
                      theft. If a consumer submits an identity theft
                      report to a person who furnishes information to
                      a consumer reporting agency at the address
                      specified by that person for receiving such
                      reports stating that information maintained by
                      such person that purports to relate to the
                      consumer resulted from identity theft, the person
                      may not furnish such information that purports
                      to relate to the consumer to any consumer
                      reporting agency, unless the person subsequently
                      knows or is informed by the consumer that the
                      information is correct.



 54.   15 U.S.C. § 1681s-2(b)(1) states:

             (b) Duties of Furnishers of Information upon Notice of
                 Dispute


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               (1) In general. After receiving notice pursuant to
                   section 611(a)(2) [§ 1681i] of a dispute with regard
                   to the completeness or accuracy of any information
                   provided by a person to a consumer reporting
                   agency, the person shall

                  (A)    conduct an investigation with respect to the
                     disputed information;

                  (B) review all relevant information provided by
                     the consumer reporting agency pursuant to
                     section 611(a)(2) [§ 1681i];

                  (C) report the results of the investigation to the
                     consumer reporting agency;

                  (D) if the investigation finds that the information
                     is incomplete or inaccurate, report those results
                     to all other consumer reporting agencies to
                     which the person furnished the information and
                     that compile and maintain files on consumers on
                     a nationwide basis; and

                  (E) if an item of information disputed by a
                     consumer is found to be inaccurate or
                     incomplete or cannot be verified after any
                     reinvestigation under paragraph (1), for
                     purposes of reporting to a consumer reporting
                     agency only, as appropriate, based on the results
                     of the reinvestigation promptly –

                     (i)     modify that item of information;

                     (ii)    delete that item of information; or

                     (iii)   permanently block the reporting of that
                             item of information.




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 55.   In June or July of 2022, Plaintiff disputed with Transunion the alleged

 Upstart/Cross River Loan. Prior to Plaintiff’s dispute, Cross River sold the Loan to

 Theorem.

 56.   Pursuant to the Fair Credit Reporting Act, Transunion is defined as a

 “consumer reporting agency.”

 57.   Pursuant to the Fair Credit Reporting Act, Transunion reported Plaintiff’s

 dispute to Defendant Upstart.

 58.   Pursuant to the Fair Credit Reporting Act, Defendant Upstart was required to

 conduct a reasonable investigation into the validity of the debt.

 59.   According to Defendant Upstart, an internal investigation was conducted and

 Upstart determined the debt to be validly owed by Plaintiff.

 60.   During Defendant Upstart’s investigation, Plaintiff supplied Upstart with the

 police reports and an FTC Identity Fraud report.

 61.   The evidence supporting Plaintiff’s claim of identity theft was ignored by

 Upstart.   Defendant Upstart quickly concluded its investigation and began

 incorrectly reporting this debt to the credit reporting agencies again.

 62.   Plaintiff has been damaged by Upstart’s conduct, including emotionally.

 Plaintiff’s credit has been continually damaged as a result of continued incorrect

 reporting the Loan as hers.




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 63.      Plaintiff has continually been harassed by Upstart for payment of this

 fraudulently obtained Loan.

 64.      Plaintiff incurred a cost having to pay counsel (not undersigned counsel) to

 correspond with Upstart to stop harassing Plaintiff.

 65.      Pursuant to the FCRA, Defendant Upstart had a duty to conduct a

 “reasonable” investigation. Upstart’s lack of thoroughness, not only in its processing

 of the Application and subsequent issuance of the Loan, was compounded by its lack

 of investigative depth. A reasonable investigation would have shown the Loan does

 not belong to Plaintiff.

                                PRAYER FOR RELIEF

          Wherefore, the Plaintiff prays for the following relief and judgment in her

 favor:

          a.    Award damages to the Plaintiff for Count III, against Defendant Upstart

 Network, Inc.;

          b.    Award punitive damages to Plaintiff for Count III against Defendant

 Upstart Network, Inc.;

          c.    Award the Plaintiff her costs, including attorney fees, against Defendant

 Upstart Network, Inc.; and

          d.    Award such other and further relief as may be appropriate and proper.




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                       VIII. COUNT IV – NEGLIGENCE
       (Against Defendants Cross River Bank and Upstart Network, Inc.)

 66.   Plaintiff incorporates paragraphs 1 to 27 as if fully stated herein.

 67.   At all times relevant, Upstart was acting as an authorized agent of Cross River

 and all actions taken by Upstart were for the benefit of both Upstart and Cross River.

 68.   Defendant Upstart, as an agent of Cross River, processed an online request for

 credit in the name of Plaintiff, submitted illegally by a person other than Plaintiff.

 69.   The credit application was not initiated, approved, authorized, or ratified by

 Plaintiff. The application process and subsequent approval and funding of the Loan

 was unknown to Plaintiff until months after the completion of the process.

 70.   The Application contains errors that should have been verified prior to the

 issuance of the Loan. The errors include an inaccurate email address, a telephone

 number that lists a Connecticut area code that was not Plaintiff’s, and an incorrect

 “area of study.”

 71.   Had either Defendant Upstart or Cross River taken even a limited amount of

 time performing due diligence prior to the issuance of the Loan, the errors and

 identity theft of Plaintiff would have been noticed and no loan in Plaintiff’s name

 would have been issued.

 72.   In 2022, Cross River originated 51% of the loans processed by Upstart

 Holdings’ online platforms and accounted for 45% of Upstart Holdings’ total

 revenue.
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 73.     Upstart acts as an agent of Cross River by providing an online platform for

 consumers, or identity thieves, to type in certain basic information and be given

 instant approval for personal, high interest loans, from Cross River. Upstart benefits

 financially from loans issued through its online platform, funded by Cross River.

 The Application for the Loan was instantly approved.

 74.     Upstart’s website clearly states: “The majority of borrowers on the Upstart

 marketplace are able to receive an instant decision upon submitting a completed

 application, without providing supporting documents …” Additionally if the offered

 loan is accepted “by 5pm EST” the loan “funds will be sent on the next business

 day.”

 75.     Upstart and Cross River owe a duty of care to those persons, including

 Plaintiff, whose names and basic identity information are used in the attempt to

 obtain a loan on their online platform.

 76.     Upstart and Cross River tout their online consumer loan business as providing

 instant loan approvals based upon artificial intelligence (AI) based computer

 programs. The Loan approval and issuance did not involve any human intervention

 that would have provided for a prudent duty of care to Plaintiff, and others, to assure

 that an applicant is actually the specified applicant and not an applicant whose

 identifying information had been illegally used without their permission, such as in

 the case of Plaintiff.


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 77.      A prudent person would have, at least, a minimum amount of human contact

 involved in the process, if not during the application process, then prior to any loan

 actually being disbursed.

 78.      Identity theft and illegal procurement of loans is reasonably foreseeable under

 the AI loan process used by Defendants Cross River and Upstart, as stated in Upstart

 Holdings, Inc. 2022 10K filing.

 79.      Cross River and its agent, Upstart, did not provide the duty of care owed to

 Plaintiff, and as was reasonably foreseeable, Plaintiff was issued a loan in her name

 through the AI based process which was not initiated or approved by Plaintiff, nor

 used by Plaintiff, using her stolen personal identifying information.

 80.      As a result of the negligently issued loan, Plaintiff has been, and continues to

 be damaged, not only by the amount of the loan, now in default, but by the severe

 damage to Plaintiff’s credit.

                                 PRAYER FOR RELIEF

          Wherefore, the Plaintiff prays for the following relief and judgment in her

 favor:

          a.    Award damages to the Plaintiff for Count IV, against Defendants Cross

 River Bank and Upstart Network, Inc.;

          b.    Award the Plaintiff her costs, including attorney fees, against both

 Defendants; and


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       c.     Award such other and further relief as may be appropriate and proper.

        IX.    COUNT V – DECLARATORY JUDGMENT PURSUANT
                            TO N.J.S. § 2A:16-52
                  (Against Defendant Upstart Loan Trust 2)

 81.   Plaintiff incorporates paragraphs 1 to 27 as if fully stated herein.

 82.   N.J.S. § 2A:16-52 states:

              § 2A:16-52. Declaration of rights, status and other
              legal relations

              All courts of record in this state shall, within their
              respective jurisdictions, have power to declare rights,
              status and other legal relations, whether or not further
              relief is or could be claimed; and no action or proceeding
              shall be open to objection on the ground that a declaratory
              judgment is demanded.

 83.   N.J.S. § 2A:16-53 states:

              § 2A:16-53.       Questions determinable and rights

              declarable

              A person interested under a deed, will, written contract or
              other writing constituting a contract, or whose rights,
              status or other legal relations are affected by a statute,
              municipal ordinance, contract or franchise, may have
              determined any question of construction or validity arising
              under the instrument, statute, ordinance, contract or
              franchise and obtain a declaration of rights, status or other
              legal relations thereunder.

 84.   Plaintiff is the victim of identity theft and is being further and continually

 victimized by the continued actions of Defendant Upstart Loan Trust 2 not cancelling

 or voiding the Loan.
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 85.   Plaintiff’s estranged husband used, without authorization, approval or

 ratification, Plaintiff’s personal identifying information in order to obtain the Loan

 underlying this action. He then used the funds for his illicit extramarital affair. The

 Loan was obtained without the knowledge or approval of Plaintiff.

 86.   Plaintiff, after finding out about the Loan, did what was required after an

 identity theft, namely, reporting the incident to the local police and to the FTC,

 specifically naming her husband. Plaintiff also disputed the debt directly with

 Transunion and Upstart, as the servicing agent for the Loan.

 87.   Within weeks of the issuance of the Loan, Defendant Cross River Bank sold,

 or otherwise transferred the Loan to Defendant Theorem Main Master Fund LP. In

 December 2023, Theorem sold the Loan to Velocity Investments, LLC. The Loan

 was recently purchased from Velocity Investments, LLC by Defendant Upstart Loan

 Trust 2.

 88.   According to Upstart, it conducted an “investigation” into the identity theft

 allegation of Plaintiff and determined that the “debt was valid.”

 89.   Defendant Upstart continued to negatively report Plaintiff to credit bureaus.

 Additionally, Upstart continued to accelerate the Loan, demanding that Plaintiff

 immediately pay $7,686.72. Defendants Upstart and Theorem also previously

 informed Plaintiff that she and the debt had been “referred to a third party collection

 agency for collection.”


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 90.      Plaintiff did not authorize her estranged husband to use her personal

 identifying information to apply for the Loan, reported the Loan as fraudulently

 procured in her name, did not use the funds for herself, and was unaware of the funds

 being deposited into the couples’ joint bank account. Plaintiff continues to be

 damaged, both financially and emotionally, by Upstart’s continued collection efforts

 and negative reporting.

 91.      Plaintiff’s only option is a declaratory judgment that this debt is not hers and

 that she bears no financial responsibility for such debt.

                                 PRAYER FOR RELIEF

          Wherefore, the Plaintiff prays for the following relief and judgment in her

 favor:

          a.    Issue a Declaratory Judgment declaring that the debt alleged by

 Defendant Upstart Loan Trust 2 is not Plaintiff’s and that Plaintiff has no liability

 for payment for said debt;

          b.    Award the Plaintiff her costs, including attorney fees, against Defendant

 Upstart Loan Trust 2; and

          c.    Award such other and further relief as may be appropriate and proper.

                         X.    COUNT VI – CONVERSION
                 (Against Defendant Theorem Main Master Fund LP)

 92.      Plaintiff incorporates paragraphs 1 to 27 as if fully stated herein.

 93.      Plaintiff did not sign, electronically or otherwise, the Application.
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 94.   Plaintiff did not authorize, or otherwise give Defendant Upstart or Defendant

 Theorem permission to remove funds from her checking account at Bank of

 America.

 95.   Despite the lack of Plaintiff’s permission, Upstart, as an agent for Theorem,

 removed funds from Plaintiff’s Bank of America checking account via electronic

 transfers or Automated Clearing House (“ACH”) transfers.

 96.   Defendant Theorem financially benefitted by taking, without permission,

 Plaintiff’s funds.

 97.   Plaintiff was in lawful, immediate possession of the funds in her Bank of

 America checking account and Defendant Theorem interfered with Plaintiff’s rights

 and possession of Plaintiff’s funds by taking, without her authorization or

 permission, the following amounts on the following dates from her Bank of America

 checking account:

       March 10, 2022                                $187.92

       April 11, 2022                                $187.92

       May 10, 2022                                  $187.92

       June 10, 2022                                 $187.92

       July 11, 2022                                 $187.92

 98.   Defendant’s illegal taking of Plaintiff’s funds without her authorization or her

 permission damaged Plaintiff in an amount of at least $939.60.


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                                  PRAYER FOR RELIEF

          Wherefore, the Plaintiff prays for the following relief and judgment in her

 favor:

          a.    Award damages to Plaintiff for Count VI against Defendant Theorem

 Main Master Fund LP;

          b.    Award the Plaintiff her costs, including attorney fees, against Defendant

 Theorem Main Master Fund LP; and

          c.    Award such other and further relief as may be appropriate and proper.

                                  XI.    JURY DEMAND

          Plaintiff demands trial by jury for all issues so triable.



 Dated: April 10, 2024

                                                    /s/ Leo W. Desmond
                                                    Leo W. Desmond, Esq.
                                                    Attorney ID Number: 013191994
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                         CERTIFICATE OF SERVICE

       I, Leo W. Desmond, hereby certify that on April 10, 2024, a true and accurate

 copy of the above document was electronically filed with the Clerk of the Court by

 using the CM/ECF system which will send Notice of Electronic Filing (NEF) to all

 counsel of record.



                                              /s/ Leo W. Desmond
                                              Leo W. Desmond
                                              Attorney ID Number: 013191994

 Dated: April 10, 2024




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